              Case 3:19-cv-05798-RBL Document 25 Filed 12/20/19 Page 1 of 4




 1                                                                Honorable Ronald B. Leighton

 2

 3

 4

 5

 6

 7
                              UNITED STATES DISTRICT COURT
 8                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9   DOUGLAS FERRIE, an individual
                                                        Case No. 3:19-cv-05798-RBL
10                                      Plaintiff,
             v.                                         JOINT NOTICE REGARDING
11                                                      STATUS OF MEDIATION
     WOODFORD RESEARCH, LLC, a Kentucky                 EFFORTS AND REQUEST FOR
12
     limited liability company; HUBERT SENTERS,         STATUS CONFERENCE
13   an individual; ROSS GIVENS, an individual;
     JARED CARTER, an individual; DPT
14   INNOVATIONS LLC d/b/a
15   ARBITRAGING.CO, a foreign company;
     DAVID PETERSON a/k/a JEREMEY
16   ROUNSVILLE, an individual; INFOGENESIS
     CONSULTING GROUP, LLC, a Nevada limited
17   liability company; KURT F. WEINRICH, SR.,
     an individual,
18

19                                   Defendants.

20
             On November 14, 2019, Plaintiff Douglas Ferrie (“Plaintiff”); Defendants Woodford
21
     Research, LLC, Hubert Senters, Karen Arvin, Ross Givens, Jared Carter, Infogenesis
22
     Consulting Group, LLC, and Kurt Weinrich, Sr. (“Defendants”); and former Defendants
23

24

25

26

     NOTICE RE MEDIATION &                                                         K&L GATES LLP
     REQUEST FOR STATUS CONFERENCE - 1                                      925 FOURTH AVENUE, SUITE 2900
                                                                           SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                                TELEPHONE: (206) 623-7580
     502672128 v7                                                               FACSIMILE: (206) 623-7022
              Case 3:19-cv-05798-RBL Document 25 Filed 12/20/19 Page 2 of 4




 1   Horizon Trust Company LLC and Greg Herlean (all of them together, “the Parties”) 1 brought

 2   a stipulated motion asking the Court to stay all proceedings in this matter and vacate the then-

 3   pending case deadlines while they attempted to resolve this matter through mediation. Dkt. #

 4   20. The Court granted the Parties’ request and entered an Order: (i) vacating the then-pending

 5   deadlines, (ii) staying these proceedings until December 20, 2019, and (iii) directing the

 6   parties to advise the Court by December 20, 2019 as to the results of the mediation conference

 7   and to request a status conference. Dkt. # 21.

 8           On December 4, 2019, the Parties identified above 2 participated in a mediation session

 9   in Seattle, Washington before the Honorable Judge Jeffrey M. Ramsdell (Ret.). The Parties

10   were, however, unable to reach a resolution to this matter. Moreover, the Parties have not

11   reached a settlement by the December 20, 2019 deadline set in the Court’s order staying

12   proceedings.

13           Therefore, the Parties 3 respectfully ask the Court to set a status conference as

14   contemplated in the Court’s Order. The Parties understand, however, that Plaintiff plans to

15   request leave to file an amended complaint, and that Defendants reserve their rights with respect

16   to contesting that request. Accordingly, the Parties respectfully recommend that the Status

17   Conference not be scheduled until after resolution of Plaintiff’s request to file an amended

18   complaint.

19

20   1
       On December 19, 2019, Plaintiff filed a Notice of Voluntary Dismissal under Fed. R. Civ. P.
     41(a)(1)(A) dismissing without prejudice his claims against former Defendants Horizon Trust
21   Company, LLC, Greg Herlean, and Daniel Ensign. Dkt. # 24. They are no longer parties to this
22   case. Thus, the term “Parties” when used in this Notice to describe events occurring after the
     filing of Dkt. # 24 does not include Horizon Trust or Mr. Herlean.
23   2
       Defendants Daniel Ensing, David Peterson a/k/a/ Jeremy Rounsville, and DPT Innovations
     LLC d/b/a Arbitraging,co have not been served and did not participate in the mediation.
24   3
       See Footnote 1.
25

26

     NOTICE RE MEDIATION &                                                              K&L GATES LLP
     REQUEST FOR STATUS CONFERENCE - 2                                           925 FOURTH AVENUE, SUITE 2900
                                                                                SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                                     TELEPHONE: (206) 623-7580
     502672128 v7                                                                    FACSIMILE: (206) 623-7022
              Case 3:19-cv-05798-RBL Document 25 Filed 12/20/19 Page 3 of 4




 1           DATED this 20th day of December, 2019.

 2

 3    TERRELL MARSHALL LAW                       RUSSELL LAW OFFICES
       GROUP PLLC
 4
      By: /s/ Beth E. Terrell                    By: /s/ Robie G. Russell
 5       Beth E. Terrell, WSBA #26759               Robie G. Russell, WSBA #20579
         Email: bterrell@terrellmarshall.com        Email: robielaw@gmail.com
 6       936 North 34th Street, Suite 300           77 South Main Street
         Seattle, Washington 98103-8869             Seattle, Washington 98104-2513
 7       Telephone: (206) 816-6603                  Telephone: (206) 621-2102
         Facsimile: (206) 319-5450
 8                                               Attorneys for Defendants InfoGenesis
          David C. Silver                        Consulting Group, LLC and Kurt F.
 9        Email: dsilver@silvermillerlaw.com     Weinrich, Sr.
          Jason S. Miller
10        Email: jmiller@silvermillerlaw.com
          Todd R. Friedman
11        Email: tfriedman@silvermillerlaw.com
          SILVER MILLER
12        11780 West Sample Road
          Coral Springs, Florida 33065
13        Telephone: (954) 516-6000
14    Attorneys for Plaintiff
15    K&L GATES LLP
16    By: /s/ Aaron E. Millstein
         Michael D. McKay, WSBA #7040
17       Email: mike.mckay@klgates.com
         Aaron E. Millstein, WSBA #44135
18       Email: aaron.millstein@klgates.com
         Daniel-Charles V. Wolf, WSBA #48211
19       Email: dc.wolf@klgates.com
         925 4th Avenue, Suite 2900
20       Seattle, Washington 98104-1158
         Telephone: (206) 623-7580
21
      Attorneys for Defendants Woodford
22    Research, LLC, Hubert Senters, Karen
      Arvin, Ross Givens, and Jared Carter
23

24

25

26

     NOTICE RE MEDIATION &                                                      K&L GATES LLP
     REQUEST FOR STATUS CONFERENCE - 3                                   925 FOURTH AVENUE, SUITE 2900
                                                                        SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                             TELEPHONE: (206) 623-7580
     502672128 v7                                                            FACSIMILE: (206) 623-7022
              Case 3:19-cv-05798-RBL Document 25 Filed 12/20/19 Page 4 of 4




 1

 2                        CERTIFICATE OF ECF FILING AND SERVICE

 3
     I certify that on December 20, 2019, I arranged for electronic filing of the foregoing document
 4   with the Clerk of the Court using the CM/ECF system, which will send notification of such
     filing to all parties of record.
 5

 6
                                                         /s/ Aaron E. Millstein
 7                                                      Aaron E. Millstein, WSBA #44135

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     NOTICE RE MEDIATION &                                                            K&L GATES LLP
     REQUEST FOR STATUS CONFERENCE - 4                                         925 FOURTH AVENUE, SUITE 2900
                                                                              SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                                   TELEPHONE: (206) 623-7580
     502672128 v7                                                                  FACSIMILE: (206) 623-7022
